U.S. DISTRICT COURT
Case 4:20-cr-00053-P Document1 Filed 10/24/19 Pate oFBN Pree OF TEXAS

IN THE UNITED STATES DISTRICT COURT g¢T 24 2979
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION Gierk U.S. DISTRICT COURT

By:
UNITED STATES OF AMERICA Deputy

v. No. 4:19-M- 2G7F

CHARITY CANTU (01)

 

CRIMINAL COMPLAINT

 

I, Sergeant Thomas Hruskocy, the undersigned Complainant, being duly sworn,
set forth facts and reasonable inferences from those facts, establishing that there is
probable cause to believe that:

During the month of July of 2019, and continuing through on or about October 12,
2019, in the Fort Worth Division of the Northern District of Texas and elsewhere, the
defendant, Charity Cantu knowingly in and affecting interstate commerce, recruited,
enticed, harbored, transported, provided, obtained or maintained by any means, and
benefit financially and by receiving anything of value from participation in a venture
which recruited, enticed, harbored, transported, provided, obtained and maintained the
following individual Jane Doe 1 (JD1), a child under the age of 18 and knowing and in

reckless disregard of the fact that JD1 was under the age of 18 caused JD1 to engage in
commercial sex acts, in violation of 18 U.S.C. § 1591(a)(1) and (a)(2) and (b)(1).

PROBABLE CAUSE
Iam a Sergeant Investigator with the Texas Attorney General’s Office (Texas
OAG) — assigned to the Human Trafficking Unit, Austin, Texas. This complaint is based
on the following facts gathered through my investigation conducted in coordination with
Homeland Security Investigations (HSI) Dallas and the Fort Worth (Texas) Police

Department’s Major Case Unit. I state the following is true and correct to the best of my

knowledge and belief:

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1. On October 12, 2019, Sgt. Peterson and I, of the Office of the Texas
Attorney General’s Human Trafficking Unit, were participating in a multi-agency human
trafficking operation. This operation was conducted at the Fairfield Inn, 6851 West
Freeway, Fort Worth, Texas.

2. On October 12, 2019, an advertisement offering sex for a fee was located
on an internet escort website, Escort Alligator.com. The advertisement dated October
12, 2019, with a time stamp of 05:52 p.m. was titled “No Condom Sex”. Further
depicted on the advertisement were photographs of two different black females dressed in
lingerie. On one of the pictures of a black female there was text that stated “ASK
ABOUT MY TWO GIRL SHOW”. The ad also contained a contact number listed as
940-514-6475.

3. One of the other law enforcement entities involved in the operation initiated
a text conversation with the 940-514-6475 number. During the course of the text
conversation, it was asked if there was an “outcall” available for a “two girl special.”
“Outcall” is a slang term asking for a person engaged in prostitution to come to your
location to engage in sex for US Currency. Through my training and experience, I know
that “a two girl special” is when two people engaged in prostitution are engaging in
sexual conduct with the buyer for a fee as part of the same call. The recipient of the text
asked how much money the buyer wanted to spend. The reply to the text was $160
unless a “bareback” service would be provided in which case an extra $100 would be

available. Through my training and experience, I know “bareback” is a common term for

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sex without a condom. The recipient of the text advised that for two girls to come to the
location the cost would be $300. It was further detailed that the recipient of the text was
the subject that would engage in the “bareback” portion of the sex. It was then agreed
upon that the two females would come to 6851 West Freeway, Ft Worth, Texas, 76116
(Fairfield Inn) to engage in sexual intercourse for an hour for a fee of $300.

4. At approximately 6:54 p.m., the recipient advised that she and the second
girl were 30 minutes away from the location. There was a text sent at 7:16 p.m. telling
the recipient that the room to come to was 126. At approximately 7:25 p.m. the recipient
texted asking law enforcement to open the door to Room 126. When I was advised that
the female subjects were at the door, I then exited the room next door to detain the
subjects for a prostitution investigation. There were two black females standing at the
door of Room 126. I was wearing a vest that was clearly marked “POLICE”. I, as well
as other investigators assigned to the outreach operation, attempted to engage the two
females offering them the opportunity for services to assist in getting out of prostitution.
One of the black females saw the vest that displayed police markings and ran. While she
was running, she yelled to the other black female to run. Both subjects ran down the hall
from police. One of the black females was detained inside of the hotel and the other
black female was detained in the parking lot. Both females were brought back to the
contact rooms for interviews.

5. The black female that was detained inside of the hotel was identified as a

17-year-old child, JD1. During the recorded interview that I conducted, the child said that

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she met the other female that was identified as Charity Cantu several months ago in
Denton, Texas. JD1 is from Illinois and came to Texas with a friend or family member
and with her mother’s knowledge. She is not currently listed as a runaway. She advised
that she knows what prostitution is and that she engages in this activity because she is
trying to make money. She stated that she and Cantu are engaged in a personal
relationship and that they both engage in prostitution and that they split the money 50-50
between them. JD1 claimed that she posted the internet advertisements. JD1 stated that
on her phone I would find conversations between JD1 and Cantu about money and that
in addition I would find text conversations with sex buyers.

6. Cantu was then interviewed by me and Officer Becky Aranda of the
Farmers Branch Police Department. The interview was recorded. Initially Cantu was
treated as a potential victim in the same manner that JD1 was treated. However, during
the interview she disclosed that she caused JD1, a child, to engage in prostitution and had
been for a period of three months. The second portion of the interview was then
conducted by Sgt. T. Peterson, who is employed by the Office of the Texas Attorney
General’s Human Trafficking Unit and J. Cantu was read her Miranda Warnings on the
recording. Cantu acknowledged the Miranda warning and signed a written copy of the
warning stating that she would speak with investigators. During the interview, Cantu
stated that she posted the advertisements for sex on the internet using her cell phone.
Cantu confessed that she and JD1 have been engaging in prostitution for the last three

months together. Cantu confessed that all of the money that was made by the child was

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given to Cantu to deposit into Cantu’s bank account. Cantu explained that she and JD1
were in a sexual relationship and called JD1 “her girl”. Cantu explained that she
provided the child with everything that she needed, housing, clothing, money for hygiene
items, food, having her hair and make-up done but did not give the child any of the

money that the child earned through prostitution. Cantu told investigators that she uses
her personal phone number on the advertisements for buyers to contact her to engage in
sex for money and acknowledged that the 940-514-6475 was her number. Cantu
confessed to being a “mentor” to JD1 and teaching her how to engage in prostitution.
Cantu stated that she would make $5000-$6000 dollars a month from the sex work that
she and JD1 engaged in and that she used that money to purchase bitcoin.

7. After the interviews, the phones of both JD1 and Cantu were seized and
secured as necessary to the continuing trafficking investigation. I procured search
warrants for the phones based on the evidence of trafficking that both JD1 and Cantu
disclosed during the interviews. I drafted and submitted cell phone search warrants to
Tarrant County Senior District Court Judge Everett Young. Judge Young signed the
search warrants for both cell phones.

CONCLUSION
Based on the foregoing facts and circumstances, I respectfully submit that there is
probable cause to believe that beginning on or about July 2019, and continuing through
on or about October 12, 2019, in the Fort Worth Division of the Northern District of

Texas and elsewhere, the defendant, Charity Cantu knowingly in and affecting interstate

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commerce, recruited, enticed, harbored, transported, provided, obtained or maintained by —
any means, and benefit financially and by receiving anything of value from participation
in a venture which recruited, enticed, harbored, transported, provided, obtained and
maintained the following individual Jane Doe 1 (JD1), a child under the age of 18 and
knowing and in reckless disregard of the fact that JD1 was under the age of 18 caused
JD1 to engage in commercial sex acts, in violation of 18 U.S.C. § 1591(a)(1) and (a)(2)

and (b)(1).

 

Sergtan igator

Texas Office of the Attorney General

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Subscribed and sworn before me this _@UY day of October 2019, at
1:37 a.m./geny., in Fort Worth, Texas.

 

 
 

‘ED STATES MAGISTRATE JUDGE

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